             Case 1:23-cv-00819-HBK Document 8 Filed 07/28/23 Page 1 of 2


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66
      Attorneys for Plaintiff Kent Delphia,
77    and the putative class
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                         UNITED STATES DISTRICT COURT
99                      EASTERN DISTRICT OF CALIFORNIA
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11    KENT DELPHIA                              Case No.: 1:23−CV−00819−HBK
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 13                              Plaintiff,     NOTICE OF VOLUNTARY
13                                              DISMISSAL WITH
 14
14    vs.                                       PREJUDICE PURSUANT TO
 15                                             FED. R. CIV. P. 41(a)(1)(A)(i)
15    ARCADIA CONSUMER
 16
16    HEALTHCARE, INC.
 17                    Defendant.
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                                 NOTICE OF VOLUNTARY DISMISSAL
             Case 1:23-cv-00819-HBK Document 8 Filed 07/28/23 Page 2 of 2


 1          Plaintiff Kent Delphia (“Plaintiff”) respectfully informs the Court that Plaintiff
 2   and Defendant Arcadia Consumer Healthcare, Inc., have reached a confidential
 3   settlement of Plaintiff’s individual claims. Thus, Plaintiff hereby voluntarily dismisses
 4   his claims in this matter with prejudice and without prejudice to any putative class
 5   member.
 6
 7   Dated: July 28, 2023
 8                               By:    s/Manfred P. Muecke
 9                                      Manfred Muecke (SBN: 222893)
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                                   NOTICE OF VOLUNTARY DISMISSAL
